Case 2:23-cv-01426-GW-AS         Document 13 Filed 04/24/23   Page 1 of 70 Page ID
                                        #:562


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 5   Beverly Hills, California 90212
 6
     Attorneys for Defendants Alo, LLC
 7   and Color Image Apparel, Inc.
 8

 9
                            UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11

12
      BIHQ PTE LTD., a Singapore private            Case No. 2:23-cv-01426-GW-ASx
13    limited company,
                                                    ALO, LLC’S AND COLOR
14                  Plaintiff,                      IMAGE APPAREL, INC.’S
             v.                                     ANSWER TO COMPLAINT AND
15                                                  COUNTERCLAIMS
16    ALO, LLC, a California limited
      liability company and COLOR IMAGE             JURY TRIAL DEMANDED
17    APPAREL, INC., a California
18    corporation,                                  Assigned: Hon. George H. Wu
                                                    Complaint filed: February 24, 2023
19                 Defendants.
20

21         Defendants Alo, LLC (“Alo LLC”) and Color Image Apparel, Inc. (“CIA”)
22   (together “Alo” or “Defendants”), hereby submit their Answer, Affirmative Defenses,
23   and Counterclaims to the Complaint filed by Plaintiff BIHQ Pte Ltd. (“BIHQ” or
24   “Plaintiff”) as set forth below.1
25

26   1
       Alo does not respond to the headings in the Complaint, which require no response.
     To the extent the headings purport to contain factual allegations requiring a response,
27   Alo denies them. Alo’s answers in specific numbered paragraphs herein correspond
28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS       Document 13 Filed 04/24/23       Page 2 of 70 Page ID
                                      #:563


 1                                   NATURE OF ACTION
 2           1.     Alo denies the allegations in Paragraph 1 of the Complaint except admits
 3   that this purports to be an action for breach of contract and account stated seeking
 4   damages for monetary relief, and avers that the claims lack merit as asserted.
 5                                           PARTIES
 6           1.     Alo lacks knowledge or information sufficient to form a belief as to the
 7   truth or falsity of the allegations in Paragraph 1 of the Complaint and therefore denies
 8   them.
 9           2.     Alo admits that Alo, LLC is a California limited liability company with a
10   principal place of business located at 9830 Wilshire Boulevard, Beverly Hills, CA
11   90212. Alo admits that it is a well-known athleisure, yoga and health and wellness
12   company that markets and sells products throughout the United States and abroad.
13   Alo denies the remaining allegations in Paragraph 2 of the Complaint are complete or
14   accurate and therefore denies them.
15           3.     Alo admits that CIA is a California corporation with a principal place of
16   business located at 9830 Wilshire Boulevard, Beverly Hills, CA 90212. Alo admits
17   that Alo, LLC is a wholly-owned subsidiary of CIA. Alo denies the remaining
18   allegations in Paragraph 3 of the Complaint are complete or accurate and therefore
19   denies them.
20           4.     Alo admits that Alo, LLC is a wholly-owned subsidiary of CIA, and that
21   CIA and Alo, LLC each have a principal place of business located at 9830 Wilshire
22   Boulevard, Beverly Hills, CA 90212. Alo denies the remaining allegations in
23   Paragraph 4 of the Complaint are complete or accurate and therefore denies them.
24   The remaining allegations in Paragraph 4 also state legal conclusions to which no
25   response is required. To the extent a response is required, Alo denies them.
26
     to the same numbered paragraphs used in the Complaint.
27

28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS       Document 13 Filed 04/24/23         Page 3 of 70 Page ID
                                      #:564


 1           5.    Alo lacks knowledge or information sufficient to form a belief as to the
 2   truth or falsity of the allegations in Paragraph 5 of the Complaint and therefore denies
 3   them.
 4                                 JURISDICTION & VENUE
 5           6.    Alo admits that Plaintiff asserts claims subject to the statute listed in
 6   Paragraph 6, but avers that the asserted claims lack merit. The remaining allegations
 7   state legal conclusions to which no response is required. To the extent a response is
 8   required, Alo denies the allegations.
 9           7.    Alo admits that Alo, LLC is a California limited liability company with a
10   principal place of business located at 9830 Wilshire Boulevard, Beverly Hills, CA
11   90212. Alo denies the remaining allegations in Paragraph 7 of the Complaint. Solely
12   for purposes of this action, Alo does not contest that it is subject to personal
13   jurisdiction with respect the asserted claims in the Complaint.
14           8.    Alo admits that Alo, LLC is a California limited liability company with a
15   principal place of business located at 9830 Wilshire Boulevard, Beverly Hills, CA
16   90212. Alo denies the remaining allegations in Paragraph 8 of the Complaint. The
17   remaining allegations state legal conclusions to which no response is required. To the
18   extent a response is required, Alo denies the allegations.
19                                GENERAL ALLEGATIONS
20           9.    Alo denies the allegations in Paragraph 9 of the Complaint are complete
21   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
22   to form a belief as to the truth or falsity of the allegations in Paragraph 9 of the
23   Complaint and therefore denies them.
24           10.   Alo denies the allegations in Paragraph 10 of the Complaint are complete
25   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
26   to form a belief as to the truth or falsity of the allegations in Paragraph 10 of the
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                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23          Page 4 of 70 Page ID
                                     #:565


 1   Complaint and therefore denies them. The remaining allegations state legal
 2   conclusions regarding contract formation to which no response is required. To the
 3   extent a response is required, Alo denies the allegations.
 4         11.    Alo denies the allegations in Paragraph 11 of the Complaint are complete
 5   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
 6   to form a belief as to the truth or falsity of the allegations in Paragraph 11 of the
 7   Complaint and therefore denies them. The remaining allegations state legal
 8   conclusions regarding contract formation to which no response is required. To the
 9   extent a response is required, Alo denies the allegations.
10         12.    Alo denies the allegations in Paragraph 12 of the Complaint are complete
11   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
12   to form a belief as to the truth or falsity of the allegations in Paragraph 12 of the
13   Complaint and therefore denies them. The remaining allegations state legal
14   conclusions regarding contract formation to which no response is required. To the
15   extent a response is required, Alo denies the allegations.
16         13.    Alo denies the allegations in Paragraph 13 of the Complaint are complete
17   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
18   to form a belief as to the truth or falsity of the allegations in Paragraph 13 of the
19   Complaint and therefore denies them. The remaining allegations state legal
20   conclusions regarding contract formation to which no response is required. To the
21   extent a response is required, Alo denies the allegations.
22         14.    Alo denies the allegations in Paragraph 14 of the Complaint are complete
23   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
24   to form a belief as to the truth or falsity of the allegations in Paragraph 14 of the
25   Complaint and therefore denies them.
26         15.    Alo denies the allegations in Paragraph 15 of the Complaint are complete
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23          Page 5 of 70 Page ID
                                     #:566


 1   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
 2   to form a belief as to the truth or falsity of the allegations in Paragraph 15 of the
 3   Complaint and therefore denies them. The remaining allegations state legal
 4   conclusions regarding contract formation to which no response is required. To the
 5   extent a response is required, Alo denies the allegations.
 6         16.    Alo denies the allegations in Paragraph 16 of the Complaint are complete
 7   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
 8   to form a belief as to the truth or falsity of the allegations in Paragraph 16 of the
 9   Complaint and therefore denies them.
10         17.    Alo denies the allegations in Paragraph 17 of the Complaint are complete
11   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
12   to form a belief as to the truth or falsity of the allegations in Paragraph 17 of the
13   Complaint and therefore denies them.
14         18.    Alo denies the allegations in Paragraph 18 of the Complaint are complete
15   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
16   to form a belief as to the truth or falsity of the allegations in Paragraph 18 of the
17   Complaint and therefore denies them.
18         19.    Alo denies the allegations in Paragraph 19 of the Complaint are complete
19   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
20   to form a belief as to the truth or falsity of the allegations in Paragraph 19 of the
21   Complaint and therefore denies them. The remaining allegations state legal
22   conclusions regarding contract formation to which no response is required. To the
23   extent a response is required, Alo denies the allegations.
24         20.    Alo denies the allegations in Paragraph 20 of the Complaint are complete
25   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
26   to form a belief as to the truth or falsity of the allegations in Paragraph 20 of the
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS       Document 13 Filed 04/24/23         Page 6 of 70 Page ID
                                      #:567


 1   Complaint and therefore denies them. The remaining allegations state legal
 2   conclusions regarding contract formation to which no response is required. To the
 3   extent a response is required, Alo denies the allegations.
 4         21.      Alo denies the allegations in Paragraph 21 of the Complaint are complete
 5   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
 6   to form a belief as to the truth or falsity of the allegations in Paragraph 21 of the
 7   Complaint and therefore denies them. The remaining allegations state legal
 8   conclusions regarding contract formation to which no response is required. To the
 9   extent a response is required, Alo denies the allegations.
10         22.      Alo denies the allegations in Paragraph 22 of the Complaint are complete
11   or accurate and therefore denies them. Alo lacks knowledge or information sufficient
12   to form a belief as to the truth or falsity of the allegations in Paragraph 22 of the
13   Complaint and therefore denies them. The remaining allegations state legal
14   conclusions regarding contract formation to which no response is required. To the
15   extent a response is required, Alo denies the allegations.
16         23.      Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         24.      Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS       Document 13 Filed 04/24/23       Page 7 of 70 Page ID
                                      #:568


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         25.      Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         26.      Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         27.      Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
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                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS       Document 13 Filed 04/24/23       Page 8 of 70 Page ID
                                      #:569


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         28.      Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         29.      Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         30.      Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS       Document 13 Filed 04/24/23       Page 9 of 70 Page ID
                                      #:570


 1   denies them.
 2         31.      Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         32.      Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         33.      Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         34.      Alo admits that at various times throughout 2022 it issued certain
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                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 10 of 70 Page ID
                                      #:571


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         35.      Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         36.      Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         37.      Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 11 of 70 Page ID
                                      #:572


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         38.      Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         39.      Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         40.      Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
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                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 12 of 70 Page ID
                                      #:573


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         41.      Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         42.      Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         43.      Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 13 of 70 Page ID
                                      #:574


 1   denies them.
 2         44.      Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         45.      Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         46.      Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         47.      Alo admits that at various times throughout 2022 it issued certain
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                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 14 of 70 Page ID
                                      #:575


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         48.      Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         49.      Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         50.      Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 15 of 70 Page ID
                                      #:576


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         51.      Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         52.      Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         53.      Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 16 of 70 Page ID
                                      #:577


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         54.      Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         55.      Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         56.      Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 17 of 70 Page ID
                                      #:578


 1   denies them.
 2         57.      Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         58.      Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         59.      Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         60.      Alo admits that at various times throughout 2022 it issued certain
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 18 of 70 Page ID
                                      #:579


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         61.      Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         62.      Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         63.      Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
27

28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 19 of 70 Page ID
                                      #:580


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         64.      Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         65.      Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         66.      Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
27

28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 20 of 70 Page ID
                                      #:581


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         67.      Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         68.      Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         69.      Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 21 of 70 Page ID
                                      #:582


 1   denies them.
 2         70.      Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         71.      Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         72.      Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         73.      Alo admits that at various times throughout 2022 it issued certain
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 22 of 70 Page ID
                                      #:583


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         74.      Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         75.      Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         76.      Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 23 of 70 Page ID
                                      #:584


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         77.      Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         78.      Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         79.      Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 24 of 70 Page ID
                                      #:585


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         80.      Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         81.      Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         82.      Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 25 of 70 Page ID
                                      #:586


 1   denies them.
 2         83.      Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         84.      Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         85.      Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         86.      Alo admits that at various times throughout 2022 it issued certain
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 26 of 70 Page ID
                                      #:587


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         87.      Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         88.      Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         89.      Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 27 of 70 Page ID
                                      #:588


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         90.      Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         91.      Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         92.      Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 28 of 70 Page ID
                                      #:589


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         93.      Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         94.      Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         95.      Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 29 of 70 Page ID
                                      #:590


 1   denies them.
 2         96.      Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         97.      Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         98.      Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         99.      Alo admits that at various times throughout 2022 it issued certain
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 30 of 70 Page ID
                                     #:591


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         100. Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         101. Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         102. Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 31 of 70 Page ID
                                     #:592


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         103. Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         104. Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         105. Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 32 of 70 Page ID
                                     #:593


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         106. Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         107. Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         108. Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 33 of 70 Page ID
                                     #:594


 1   denies them.
 2         109. Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         110. Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         111. Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         112. Alo admits that at various times throughout 2022 it issued certain
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 34 of 70 Page ID
                                     #:595


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         113. Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         114. Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         115. Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 35 of 70 Page ID
                                     #:596


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         116. Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         117. Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         118. Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 36 of 70 Page ID
                                     #:597


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         119. Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         120. Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         121. Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 37 of 70 Page ID
                                     #:598


 1   denies them.
 2         122. Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         123. Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         124. Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         125. Alo admits that at various times throughout 2022 it issued certain
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 38 of 70 Page ID
                                     #:599


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         126. Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         127. Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         128. Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 39 of 70 Page ID
                                     #:600


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         129. Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         130. Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         131. Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 40 of 70 Page ID
                                     #:601


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         132. Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         133. Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         134. Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 41 of 70 Page ID
                                     #:602


 1   denies them.
 2         135. Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         136. Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         137. Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         138. Alo admits that at various times throughout 2022 it issued certain
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 42 of 70 Page ID
                                     #:603


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         139. Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         140. Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         141. Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 43 of 70 Page ID
                                     #:604


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         142. Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         143. Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         144. Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 44 of 70 Page ID
                                     #:605


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         145. Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         146. Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         147. Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 45 of 70 Page ID
                                     #:606


 1   denies them.
 2         148. Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         149. Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         150. Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         151. Alo admits that at various times throughout 2022 it issued certain
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 46 of 70 Page ID
                                     #:607


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         152. Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         153. Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         154. Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 47 of 70 Page ID
                                     #:608


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         155. Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         156. Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         157. Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 48 of 70 Page ID
                                     #:609


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         158. Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         159. Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         160. Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 49 of 70 Page ID
                                     #:610


 1   denies them.
 2         161. Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         162. Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         163. Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         164. Alo admits that at various times throughout 2022 it issued certain
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 50 of 70 Page ID
                                     #:611


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         165. Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         166. Alo admits that at various times throughout 2022 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         167. Alo admits that at various times throughout 2022 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 51 of 70 Page ID
                                     #:612


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         168. Alo admits that at various times throughout 2022 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         169. Alo admits that at various times throughout 2022 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         170. Alo admits that at various times throughout 2022 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 52 of 70 Page ID
                                     #:613


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         171. Alo admits that at various times throughout 2022 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         172. Alo admits that at various times throughout 2022 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         173. Alo admits that at various times throughout 2022 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 53 of 70 Page ID
                                     #:614


 1   denies them.
 2         174. Alo admits that at various times throughout 2022 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         175. Alo admits that at various times throughout 2022 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         176. Alo admits that at various times throughout 2022 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         177. Alo admits that at various times throughout 2022 it issued certain
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 54 of 70 Page ID
                                     #:615


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         178. Alo admits that at various times throughout 2022 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         179. Alo admits that at various times throughout 2023 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         180. Alo admits that at various times throughout 2023 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 55 of 70 Page ID
                                     #:616


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         181. Alo admits that at various times throughout 2023 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         182. Alo admits that at various times throughout 2023 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         183. Alo admits that at various times throughout 2023 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 56 of 70 Page ID
                                     #:617


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         184. Alo admits that at various times throughout 2023 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         185. Alo admits that at various times throughout 2023 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         186. Alo admits that at various times throughout 2023 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 57 of 70 Page ID
                                     #:618


 1   denies them.
 2         187. Alo admits that at various times throughout 2023 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         188. Alo admits that at various times throughout 2023 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         189. Alo admits that at various times throughout 2023 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         190. Alo admits that at various times throughout 2023 it issued certain
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 58 of 70 Page ID
                                     #:619


 1   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 2   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 3   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 4   specific allegations in this Paragraph of the Complaint are complete or accurate and
 5   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 6   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 7   denies them.
 8         191. Alo admits that at various times throughout 2023 it issued certain
 9   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
10   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
11   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
12   specific allegations in this Paragraph of the Complaint are complete or accurate and
13   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
14   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
15   denies them.
16         192. Alo admits that at various times throughout 2023 it issued certain
17   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
18   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
19   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
20   specific allegations in this Paragraph of the Complaint are complete or accurate and
21   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
22   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
23   denies them.
24         193. Alo admits that at various times throughout 2023 it issued certain
25   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
26   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 59 of 70 Page ID
                                     #:620


 1   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 2   specific allegations in this Paragraph of the Complaint are complete or accurate and
 3   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 4   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 5   denies them.
 6         194. Alo admits that at various times throughout 2023 it issued certain
 7   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 8   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 9   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
10   specific allegations in this Paragraph of the Complaint are complete or accurate and
11   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
12   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
13   denies them.
14         195. Alo admits that at various times throughout 2023 it issued certain
15   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
16   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
17   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
18   specific allegations in this Paragraph of the Complaint are complete or accurate and
19   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
20   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
21   denies them.
22         196. Alo admits that at various times throughout 2023 it issued certain
23   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
24   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
25   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
26   specific allegations in this Paragraph of the Complaint are complete or accurate and
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 60 of 70 Page ID
                                     #:621


 1   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 2   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 3   denies them.
 4         197. Alo admits that at various times throughout 2023 it issued certain
 5   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 6   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 7   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 8   specific allegations in this Paragraph of the Complaint are complete or accurate and
 9   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
10   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
11   denies them.
12         198. Alo admits that at various times throughout 2023 it issued certain
13   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
14   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
15   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
16   specific allegations in this Paragraph of the Complaint are complete or accurate and
17   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
18   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
19   denies them.
20         199. Alo admits that at various times throughout 2023 it issued certain
21   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
22   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
23   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
24   specific allegations in this Paragraph of the Complaint are complete or accurate and
25   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
26   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 61 of 70 Page ID
                                     #:622


 1   denies them.
 2         200. Alo admits that at various times throughout 2023 it issued certain
 3   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
 4   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
 5   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
 6   specific allegations in this Paragraph of the Complaint are complete or accurate and
 7   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
 8   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
 9   denies them.
10         201. Alo admits that at various times throughout 2023 it issued certain
11   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
12   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
13   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
14   specific allegations in this Paragraph of the Complaint are complete or accurate and
15   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
16   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
17   denies them.
18         202. Alo admits that at various times throughout 2023 it issued certain
19   purchase orders to Plaintiff for certain clothing to be supplied by Plaintiff, that
20   Plaintiff provided invoices for certain clothing, and that Alo received shipments of
21   certain clothing from Plaintiff. Except as expressly admitted, Alo denies that the
22   specific allegations in this Paragraph of the Complaint are complete or accurate and
23   therefore denies them. Alo lacks knowledge or information sufficient to form a belief
24   as to the truth or falsity of the allegations concerning Plaintiff’s conduct, and therefore
25   denies them.
26         203. Alo denies the allegations in Paragraph 203 of the Complaint.
27

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23          Page 62 of 70 Page ID
                                      #:623


 1

 2                               FIRST CLAIM FOR RELIEF
 3                               (Breach of Contract Against Alo)
 4         204. Plaintiff repeats and realleges its responses to each preceding paragraph
 5   above as if fully set forth herein.
 6         205. Plaintiff denies the allegations in Paragraph 205 of the Counterclaims.
 7         206. Plaintiff denies the allegations in Paragraph 206 of the Counterclaims.
 8         207. Plaintiff denies the allegations in Paragraph 207 of the Counterclaims.
 9         208. Plaintiff denies the allegations in Paragraph 208 of the Counterclaims.
10         209. Plaintiff denies the allegations in Paragraph 209 of the Counterclaims.
11         210. Plaintiff denies the allegations in Paragraph 210 of the Counterclaims.
12                              SECOND CLAIM FOR RELIEF
13                                 (Account Stated Against Alo)
14         211. Plaintiff repeats and realleges its responses to each preceding paragraph
15   above as if fully set forth herein.
16         212. Plaintiff denies the allegations in Paragraph 212 of the Counterclaims.
17         213. Plaintiff denies the allegations in Paragraph 213 of the Counterclaims.
18                                   PRAYER FOR RELIEF
19         Alo denies the allegations set forth in Paragraphs 1-3 following Paragraph 213,
20   and denies that Plaintiff is entitled to any relief on its Complaint.
21                                AFFIRMATIVE DEFENSES
22                                  First Affirmative Defense
23                                         (Breach of Contract)
24         As an affirmative defense to each and every cause of action, Plaintiff’s claims
25   are barred, in whole or in part, because of Plaintiff’s material breach of the
26   agreements governing the subject matter of Plaintiff’s claims, including but not
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28
                         ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23         Page 63 of 70 Page ID
                                     #:624


 1   limited to Plaintiff’s failure to deliver goods free from material defects and failure to
 2   meet required delivery deadlines.
 3                                Second Affirmative Defense
 4                                      (Waiver and Estoppel)
 5         As an affirmative defense to each and every cause of action, Plaintiff’s claims
 6   are barred, in whole or in part, under the doctrines of waiver and estoppel by reason
 7   of acts, omissions, representations, and conduct by Plaintiff.
 8                                 Third Affirmative Defense
 9                                       (Unjust Enrichment)
10         As an affirmative defense to each and every cause of action, Plaintiff’s
11   recovery is barred because the requested recovery from Defendants would result in
12   Plaintiff’s unjust enrichment.
13                                Fourth Affirmative Defense
14                                        (Unclean Hands)
15         As an affirmative defense to each and every cause of action, Plaintiff’s
16   recovery is barred, in whole or in part, under the doctrine of unclean hands.
17                                    Fifth Affirmative Defense
18                                            (Offset)
19         As an affirmative defense to each and every cause of action, Defendants are
20   entitled to an offset for any amounts already paid by Defendants, owed to Defendants
21   by Plaintiff (including owed to Defendants in connection with any recovery on Alo’s
22   counterclaims), or as otherwise deemed appropriate by the Court.
23                              Additional Affirmative Defenses
24         Alo reserves the right to assert additional defenses as may be disclosed during
25   the course of additional investigation and discovery.
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23      Page 64 of 70 Page ID
                                     #:625


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 2                                   COUNTERCLAIMS
 3         Pursuant to Fed. R. Civ. P. 8(d), Plaintiff Alo, LLC (“Alo” or “Plaintiff”)
 4   hereby asserts the following counterclaims against Counterclaim Defendant BIHQ Pte
 5   Ltd. dba Bodynits International Pte Ltd. (“BIHQ” or “Counterclaim Defendant”) and
 6   DOES 1-10, inclusive.
 7                                 NATURE OF ACTION
 8         1.     This is breach of contract action by Alo for damages in excess of
 9   $1,075,658.16 against BIHQ arising out of BIHQ’s delivery of certain defective
10   clothing manufactured by BIHQ for Alo, and its failure to deliver certain products in
11   the timeframe required by the agreements governing the parties’ business. BIHQ’s
12   failure to manufacture products in accordance with the high quality standards required
13   by Alo governing the parties’ business, and its failure to timely meet Alo’s seasonal
14   and holiday shipping deadlines, constitute material breaches of the parties’
15   agreements. Alo’s damages include, but are not limited to, reimbursement to Alo for
16   defective goods received and paid for by Alo, increased costs (including for expedited
17   air shipping) incurred by Alo to mitigate against the harm caused by BIHQ’s failure to
18   meet required delivery deadlines, and lost sales, all arising out of BIHQ’s unlawful
19   conduct.
20                                         PARTIES
21         2.     Alo is a well-known athleisure, yoga and health and wellness company
22   that markets and sells products throughout the United States and abroad. Alo is a
23   California limited liability company with a principal place of business located at 9830
24   Wilshire Boulevard, Beverly Hills, CA 90212.
25         3.     Upon information and belief, BIHQ is a private company organized and
26   existing under the laws of Singapore with a principal place of business located at 12
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS       Document 13 Filed 04/24/23       Page 65 of 70 Page ID
                                       #:626


 1   Changi South Lane, Singapore 486353. Upon information and belief, BIHQ is
 2   engaged in the business of manufacturing and exporting clothing, and operates a
 3   website at www.bodynits.com. BIHQ conducts business under the names BIHQ Pte
 4   Ltd. and Bodynits International Pte Ltd.
 5         4.       Does 1-10 are persons or entities responsible, in whole or in part, for the
 6   wrongdoing alleged herein (“Doe Defendants”). Alo is informed and believes, and
 7   based thereon, alleges that each of the Doe Defendants participated in, assisted,
 8   endorsed, or was otherwise involved in the acts complained hereof, and that they have
 9   liability for such acts. Alo will amend this Counterclaim if, and when, the identities
10   and details of involvement of such persons or entities becomes known.
11                                 JURISDICTION & VENUE
12         5.       This Court has jurisdiction over the subject matter of these Counterclaims
13   pursuant to 28 U.S.C. § 1332(a) because this is a civil action between citizens of
14   different states, where the matter in controversy exceeds $75,000, exclusive of costs
15   and interest. This Court also has supplemental jurisdiction over these counterclaims
16   pursuant to 28 U.S.C. § 1367(a), as the subject matter of the counterclaims are so
17   related to BIHQ’s claims in the Complaint that they form part of the same case or
18   controversy.
19         6.       This Court has personal jurisdiction over BIHQ because, among other
20   reasons, BIHQ consented to the personal jurisdiction of this Court when it filed the
21   Complaint in this Judicial District, and because the subject matter of the counterclaims
22   are so related to BIHQ’s claims in the Complaint that they form part of the same case
23   or controversy. In addition, the contracts entered into between Alo and BIHQ
24   required BIHQ to deliver conforming products in this Judicial District.
25         7.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2)
26   because a substantial part of the events giving rise to the counterclaims occurred
27

28
                          ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 66 of 70 Page ID
                                     #:627


 1   within this Judicial District, as delivery of the goods by BIHQ was to be made to Alo
 2   in Los Angeles County. Alternatively, venue is proper under 28 U.S.C. § 1391(b)(3).
 3                    FACTS COMMON TO ALL COUNTERCLAIMS
 4         8.     Alo designs, develops and sells fashionable and exceptionally high
 5   quality garments in the athleisure, yoga and health and wellness space. In 2021, 2022
 6   and 2023, it entered into agreements with BIHQ to manufacture certain of its apparel
 7   products. Consistent with Alo’s high standards for quality and high demand for its
 8   new and innovative styles, Alo demands much from its partners.
 9         9.     With respect to BIHQ, doing business as Bodynits, Alo engaged in
10   extensive planning nearly a year in advance of new season and holiday product
11   launches in order to ensure that BIHQ could secure necessary materials and
12   manufacturing capacity to produce the high quality products in time for critical sales
13   periods. As part of this process, Alo provided detailed forecasts for specific styles and
14   quantities to ensure supply, and worked with BIHQ confirm quality standards are met
15   before production and shipping. As one example, on or about February 4, 2022, Alo
16   provided BIHQ with a detailed forecast for capacity planning purposes identifying
17   more than 210,000 units by style needed for the Holiday 2022.
18         10.    The agreements between Alo and BIHQ were formed pursuant to
19   communications between Alo and BIHQ that included these type of forecasts for
20   capacity planning, and eventually led to written Purchase Orders issued by Alo to
21   BIHQ that included specific terms including, but not limited to (a) identifying the
22   style, description, quantity and price of the garments subject to the order, (b)
23   identifying the location where the articles were to be shipped, (c) identifying the
24   precise shipping date for the order, and (d) specific terms and conditions governing
25   each order, including that (i) BIHQ shall deliver no goods without a purchase order,
26   (ii) BIHQ shall make no substitutions or changes without authority from Alo, and (iii)
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23        Page 67 of 70 Page ID
                                     #:628


 1   Alo reserves the right to cancel the order if shipment is not made as promised
 2   (hereafter, the “Alo Contracts”).
 3         11.    Throughout 2021, 2022 and 2023, BIHQ manufactured and delivered
 4   certain garments to Alo pursuant to the Alo Contracts. Many of these products failed
 5   to meet the quality standards required by the Alo Contracts, and contained defects in
 6   materials and craftsmanship.
 7         12.    Alo identified these defects to BIHQ. The total cost of these
 8   chargebacks, exclusive of any lost sales, is approximately $600,470.16, and concern
 9   products purchased in connection with at least the following purchase orders:
10   PO#10011259, PO#10016155, PO#10016052, PO#10016052, PO#10011215,
11   PO#10011213, PO#10017371, PO#10011416, PO#10011384, PO#10011392,
12   PO#10011360, PO#10011350, PO#10011715, PO#10011717, PO#10008335,
13   PO#10011224, PO#10010419, PO# 10016063, PO#10008281, PO#10008282,
14   PO#10008283, PO#10008284, and PO#10008977.
15         13.    Despite Alo’s early identification of specific quantities and styles for the
16   express purpose of reserving capacity, BIHQ failed to timely deliver tens of thousands
17   of garments in 2022. BIHQ’s failure to timely deliver the required garments in
18   accordance with the Alo Contracts required Alo to incur substantially increased
19   shipping costs for faster air shipping, instead of ocean freight charges, in order to
20   mitigate against some of the harm caused by BIHQ’s delays in advance of Alo’s
21   popular Holiday sales season. The approximate cost of the increased air shipping
22   charges, exclusive of any lost sales, was approximately $475,188.00.
23                                FIRST COUNTERCLAIM
24                             (Breach of Contract Against BIHQ)
25         14.    Alo repeats and realleges the allegations contained in each preceding
26   paragraph above as if fully set forth herein.
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28
                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS     Document 13 Filed 04/24/23      Page 68 of 70 Page ID
                                     #:629


 1         15.    The Alo Contracts constitute valid and enforceable contracts between
 2   Alo, on the one hand, and BIHQ, on the other hand.
 3         16.    Alo has performed, or attempted to perform, all material elements and
 4   conditions of the Alo Contracts except for those acts that have been prevented,
 5   delayed, or excused by the acts or omissions of BIHQ.
 6         17.    All conditions required for BIHQ to perform had occurred prior to
 7   BIHQ’s breach.
 8         18.    BIHQ breached the Alo Contracts by failing to deliver all goods free
 9   from material defects and in accordance with the quality standards required under the
10   Alo Contracts. Specifically, the cost of these chargebacks, exclusive of any lost sales,
11   is approximately $600,470.16, and concern products purchased in connection with at
12   least the following purchase orders: PO#10011259, PO#10016155, PO#10016052,
13   PO#10016052, PO#10011215, PO#10011213, PO#10017371, PO#10011416,
14   PO#10011384, PO#10011392, PO#10011360, PO#10011350, PO#10011715,
15   PO#10011717, PO#10008335, PO#10011224, PO#10010419, PO# 10016063,
16   PO#10008281, PO#10008282, PO#10008283, PO#10008284, and PO#10008977.
17         19.    BIHQ breached the Alo Contracts by failing to deliver all goods in the
18   timeframe required by the Alo Contracts. Specifically, BIHQ failed to timely deliver
19   tens of thousands of garments in 2022 which required Alo to incur substantially
20   increased shipping costs for air shipping. The approximate cost of the increased air
21   shipping charges, exclusive of any lost sales, was approximately $475,188.00.
22         20.    Alo was harmed by BIHQ’s breaches of the Alo Contracts. These
23   breaches were a substantial factor in causing Alo’s harm.
24         21.    As a direct and proximate result of BIHQ’s material breaches of the Alo
25   Contracts, Alo has been damaged in an amount subject to proof at trial, but in no event
26   less than $1,075,658.16, which is exclusive of the harm Alo suffered as a result of lost
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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS      Document 13 Filed 04/24/23       Page 69 of 70 Page ID
                                      #:630


 1   sales arising out of BIHQ’s conduct.
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 3                              DEMAND FOR JURY TRIAL
 4          Pursuant to Fed. R. Civ. P. 38, Alo hereby demands a jury trial on all issues so
 5   triable.
 6                                 PRAYER FOR RELIEF
 7          Wherefore Alo prays for judgment against Plaintiff/Counterclaim Defendant,
 8   and in favor of Alo, as follows:
 9          A.    That the Complaint and each purported claim for relief therein be
10   dismissed in their entirety with prejudice;
11          B.    That the Court award Alo all of its special, consequential, and
12   compensatory damages as permitted by law;
13          C.    That the Court award Alo its costs and attorneys’ fees in this action to
14   the extent recoverable by contract or statute; and
15          D.    That the Court award Alo such other and further relief as the Court may
16   deem just and proper.
17

18    Dated: April 24, 2023                        By: /s/ Nathaniel H. Lipanovich
19                                                 Nathaniel H. Lipanovich
20
                                                   Attorney for Defendants and
21                                                 Counterclaim Plaintiffs Alo, LLC and
22                                                 Color Image Apparel, Inc.

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                        ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
Case 2:23-cv-01426-GW-AS    Document 13 Filed 04/24/23      Page 70 of 70 Page ID
                                    #:631


 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on April 24, 2023, a true and correct copy of the
 3
     foregoing ALO, LLC’S AND COLOR IMAGE APPAREL, INC.’S ANSWER
     TO COMPLAINT AND COUNTERCLAIMS was filed electronically with the
 4   Clerk of the above-captioned Court utilizing the Court’s CM/ECF system, resulting in
 5
     an automatic transmission of a Notice of Electronic Filing to all counsel of record in
     the above-referenced proceeding.
 6

 7                                         By: /s/ Journey Bailey
                                                 Journey Bailey
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                       ALO’S ANSWER TO COMPLAINT AND COUNTERCLAIMS
